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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al,                   §
                                              §
         Plaintiffs,                          §
                                              §
 v.                                           §             Civil Action No. 4:20-cv-00957-SDJ
                                              §
 GOOGLE LLC,                                  §
                                              §
         Defendant.                           §



                       DEFENDANT GOOGLE LLC’S UNOPPOSED
                           MOTION TO FILE UNDER SEAL


       Defendant Google LLC (“Google”) respectfully moves the Court for leave to file under

seal its Motion for Review of the Special Master’s July 15, 2024 Order Granting in Part

Plaintiffs’ Motion to Compel Written Discovery Regarding Google Chats (“Motion for

Review”), filed on July 29, 2024. Under Rule CV-5(a)(7), Google will file redacted copies of the

Motion for Review within seven days.

                                      LEGAL STANDARD

       While “[t]here is a strong presumption in favor of a common law right of public access to

court proceedings,” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 690 (5th

Cir. 2010), the “right to inspect and copy judicial records is not absolute,” Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 597 (1978). For example, courts have recognized that the public’s

right to access is appropriately limited to protect individual privacy, Pugh v. Walmart Stores, Inc.

Tex. Inj. Care Benefit Plan, No. 1:16-CV-490, 2017 WL 11664888, at *1 (E.D. Tex. May 30,

2017), and “sources of business information that might harm a litigant’s competitive standing,”
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Nixon, 435 U.S. at 598. In exercising its discretion to seal judicial records, “the Court must

balance the public’s common law right of access against the interests favoring nondisclosure.”

S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993); Binh Hoa Le v. Exeter Fin.

Corp., 990 F.3d 410, 419 (5th Cir. 2021) (directing courts to balance right of access against

interest of nondisclosure).

                                         ARGUMENT

       Google’s Motion for Review should be filed under seal because it contains references to

non-public sensitive commercial information that, if disclosed publicly, is likely to cause Google

competitive harm. In fact, the Motion for Review contains quotes from earlier briefing in this

case that remain redacted on the public docket.

       Courts routinely recognize that the interest in non-disclosure of sensitive business

information outweighs the general public right of access. See, e.g., Nixon, at 597–98

(recognizing that public access may be properly limited to protect “sources of business

information that might harm a litigant’s competitive standing”); Conn Credit I, LP v. TF Loanco

III, LLC, No. 1:14-CV-429, 2016 WL 8231153, at *1 (E.D. Tex. May 9, 2016) (granting a motion

to seal documents containing a “large amount of confidential business information”); Dickey’s

Barbecue Pit, Inc. v. Neighbors, No. 4:14-CV-484, 2015 WL 13466613, at *4 (E.D. Tex. June 5,

2015) (granting a motion to seal a document “filled with financial information regarding [a

company’s] franchises, as well as contact information for individuals and companies operating

those franchises”); see also Local Rule CV-5(a)(7)(E).

                                        CONCLUSION

       For these reasons, the Court should grant Google’s Unopposed Motion to Seal.




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Dated: July 29, 2024               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I certify that on July 29, 2024, I electronically served all counsel of record by filing this

Motion via the Court’s CM/ECF system.



                                                    /s/ Kathy D. Patrick
                                                    Kathy D. Patrick




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